
PER CURIAM.
This cause having been orally argued before the court, the briefs and record on appeal having been read and given full consideration, and appellant having failed to demonstrate reversible error, the judgment of the lower court hereby appealed is affirmed and the interlocutory appeal dismissed. Smith v. State (Fla.App.1972) 265 *37So.2d 538, cert. granted and decision quashed by Supreme Court, 279 So.2d 27, opinion filed June 6, 1973; Frank v. State (Fla.App. 1967) 199 So.2d 117; Spataro v. State (Fla.App.1965) 179 So.2d 873.
WIGGINTON, Acting C. J., and JOHNSON and SPECTOR, JJ., concur.
